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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                 Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                       DECLARATION OF ACTING OFFICER IN CHARGE
                                  LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business. This declaration responds to
             Item 4 of the court’s order of April 30, 2020 and is applicable to Krome, Broward
             Transitional Center (BTC), and Glades County Detention Center (Glades).

          3. Between May 29, 2020 and June 5, 2020 at 9:00 a.m., ICE released, transferred or
             removed a total of 105 detainees. Those detainees were released, transferred or
             removed from the following facilities: 73 detainees from Krome, 7 detainees from
             Glades and 25 detainees from BTC.




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         4. The nature of the 73 cases from Krome are as follows:

                a. 4 detainees were released on bond.
                b. 24 detainees were removed from the United States.
                c. 2 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review.
                d. 19 detainees were transferred from Krome to BTC based upon risk
                   classification and bed space needs.
                e. 2 detainees were transferred from Krome to Baker based upon risk
                   classification and bed space needs.
                f. 17 detainees were transferred to another field office to be staged for a
                   scheduled removal flight.
                g. 4 detainees departed the United States voluntarily.
                h. 1 detainee was transferred to a local hospital for medical evaluation and
                   treatment.

         5. The nature of the 7 cases from Glades are as follows:

                a. 3 detainees were released on bond.
                b. 2 detainees were released because an immigration judge granted relief from
                   removal.
                c. 1 detainee was released on parole subsequent to a procedural ERO custody
                   review.
                d. 1 detainee was transferred to a local hospital for medical evaluation and
                   treatment.

         6. The nature of the 25 cases from BTC are as follows:

                a. 1 detainee was released on bond.
                b. 2 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review.
                c. 10 detainees were removed from the United States.
                d. 1 detainee was released because an immigration judge granted relief from
                   removal.
                e. 9 detainees were transferred to another field office to be staged for a
                   scheduled removal flight.
                f. 1 detainee departed voluntarily.
                g. 1 detainee was transferred from BTC to Krome based upon risk classification
                   and bed space needs.

                                                    Digitally signed by LIANA J CASTANO
   DATED: June 5, 2020,        _____________________________________
                                                  Date: 2020.06.05 11:48:03 -04'00'


                               Liana J. Castano
                               Assistant Field Office Director
                               Enforcement and Removal Operations
                               U.S. Immigration and Customs Enforcement

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